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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                               CASE NO. 5:09-CR-00015-R

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.

JAMES LAMONTE DUNBAR, et. al.                                                     DEFENDANTS


                           MEMORANDUM OPINION & ORDER

       This matter comes before the Court upon Defendant James LaMonte Dunbar’s Motion to

Exclude Certain Evidence Disclosed by the United States (DN 572). Government has responded

(DN 579). This motion is now ripe for adjudication. For the reasons that follow, Defendant’s

Motion is GRANTED IN PART AND DENIED IN PART.

                                        BACKGROUND

       Defendant James LaMonte Dunbar was arrested following a lengthy investigation by the

Drug Enforcement Administration (DEA) and local law enforcement officers into the sale of

crack cocaine in Hopkinsville, Kentucky. He is one of twenty-one defendants named in a five-

count indictment. Count One of the Superseding Indictment alleges that Dunbar participated in a

conspiracy to possess and distribute fifty grams or more of crack cocaine (violation of 21 U.S.C.

§§ 841(b)(1)(A), 846). This matter is set for trial on December 13, 2010. In this motion, Dunbar

seeks to exclude a number of audio recordings, transcripts of the audio recordings, written

interpretations of the audio recordings, videos and photographs taken by the authorities during

the course of their investigation, and Dunbar’s past criminal activities and his convictions for

trafficking cocaine. This Court will examine each of these items in turn.


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                                           ANALYSIS

       I. Exclusion of Audio Recordings, Transcript of the Audio Recordings, and
       Government’s Interpretation of the Audio Recordings

       Dunbar first charges that Government is planning to offer into evidence recordings of a

number of intercepted telephone calls, as well as transcripts of the recordings and written

interpretations of the recordings. Dunbar claims that the “phone calls are very difficult to hear

because of the quality of recordings and very difficult to understand because of the language

utilized by the speakers.” DN 572 at 1. As a result of the poor audio quality, Dunbar states the

recordings, the transcripts, and the interpretations are not relevant evidence under Federal Rule

of Evidence 401, and therefore inadmissible. Alternatively, Dunbar states that even if these

items were relevant evidence, the difficulty in comprehending the speakers and the derogatory

language employed by the speakers on the recordings justifies exclusion pursuant to Federal

Rule of Evidence 403. Finally, with regard to the interpretations of the recordings, Dunbar

argues that in creating the interpretations, the law enforcement officials are inherently motivated

to produce documents that will help to convict criminal defendants, and therefore they are

unreliable. None of these items have been supplied to the Court for review.

       Admission of tape recordings into evidence is within this Court’s sound discretion.

United States v. Robinson, 707 F.2d 872, 876 (6th Cir. 1983). For admission, the Court must

determine that the tapes are “authentic, accurate, and trustworthy” as well as “audible and

sufficiently comprehensible for the jury to consider the contents.” Id. “Recordings will be

deemed inadmissible if the ‘unintelligible portions are so substantial as to render the recording as

a whole untrustworthy.’” Id. (quoting United States v. Jones, 540 F.2d 465, 470 (10th Cir.), cert.

denied, 429 U.S. 1101 (1977). “As with tape recordings of communications, the use of a


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transcript of a recorded communication during trial is within the sound discretion of the trial

court.” United States v. Wilkinson, 53 F.3d 757, 761 (6th Cir.1995). However, admission of

transcripts of the audio recordings at trial “assumes that the court has predetermined that [any]

unintelligible portions of the tape do not render the whole recording untrustworthy.” Robinson,

707 F.2d at 879.

       As the Court has not had an opportunity to review any of these items, it cannot

intelligently rule on this motion. Government is ordered to submit to the Court the recordings,

transcripts, and interpretations it plans to use at trial against Dunbar or any other Defendant

proceeding to trial no later than 12:00 p.m. on December 9, 2010, so that their quality and

accuracy may be determined. Until a proper review of the items has been conducted,

Defendant’s motion must be DENIED.

       II. Exclusion of Videos and Photographs

       Dunbar moves to exclude videos and photographs taken by authorities during the course

of their investigation. Dunbar does not dispute that he appears in a number of the videos and

photographs. Instead, he argues that neither the videos nor the photographs depict him

participating in any illegal activity, are irrelevant evidence, and should thereby be excluded

under Rule 401. In the alternative, Dunbar says that even if the items are relevant, they do not

meet the standard of Rule 403.

       Again, this Court has not reviewed the videos or photographs to which Dunbar objects.

As such, exclusion of these items is premature. Government is ordered to submit these items no

later than 12:00 p.m. on December 9, 2010, with an explanation of their intended use so that the




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Court can responsibly address Defendant’s objections. Until a proper review of the items has

been conducted, Defendant’s motion must be DENIED.

        III. Exclusion of Dunbar’s Past Criminal Activities and his Criminal Convictions
        for Trafficking Cocaine

        Finally, Dunbar seeks to exclude from evidence under Federal Rule of Evidence 404(b)

his past criminal activity and two prior convictions for drug trafficking. Dunbar submits that

should he testify, Government “may inquire whether he is a convicted Felon.” DN 572 at 9.

However, Dunbar objects to the proposition that Government may inform the jury of the nature

of his past convictions. He further sets forth that evidence of his past involvement with drugs

does not fit within the exceptions of Rule 404(b) and therefore should only be introduced if

Dunbar testifies that he has never been involved in selling drugs or is ignorant of drug

trafficking.

        Government has given notice to Dunbar that it intends to use evidence of his other crimes

in the trial. DN 405. Specifically, Government alleges that police officers will testify that

Dunbar sold approximately sixteen grams and three grams of crack cocaine on September 11,

2008, and September 12, 2008, respectively in Christian County, Kentucky. Government claims

that this evidence is admissible under Rule 404(b) to show the element of intent, and

alternatively as direct evidence that Dunbar participated in the criminal conspiracy with which

he is charged. It is undisputed that these two sales, if they occurred, would fall within the

alleged dates of the conspiracy for which Dunbar is indicted. DN 1 at 1.

               a. Testimony about the drug transactions on September 11, 2008, and September
               12, 2008




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       Testimony about the narcotics sales in September of 2008 are admissible under Rule

404(b) to show the element of intent.1 In United States v. Johnson, this circuit held that “where

the crime charged is one requiring specific intent, the prosecutor may use 404(b) evidence to

prove that the defendant acted with the specific intent notwithstanding any defense the defendant

might raise.” United States v. Johnson, 27 F.3d 1186, 1192 (6th Cir. 1994). In response to

Johnson’s holding, prior bad acts under Rule 404(b) have been repeatedly used to show the

specific intent required for a criminal conspiracy. See e.g., United States v. Love, 254 F. App’x

511, 515-20 (6th Cir. 2007) (defendant’s prior drug convictions admissible to show intent to

participate in a conspiracy where defendant had pleaded not guilty to engaging in a conspiracy to

distribute cocaine); United States v. Valdez-Reyes, 165 F. App’x. 387, 395 (6th Cir. 2006)

(evidence of defendant’s participation in past “sales transactions could properly be relied upon

by the jury in determining defendant's motive, intent, and knowledge”); United States v. Clemis,

11 F.3d 597, 600-01 (6th Cir. 1993) (evidence of a prior drug transaction admissible under Rule



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           Under Rule 404(b),

       [e]vidence of other crimes, wrongs, or acts is not admissible to prove the character
       of a person in order to show action in conformity therewith. It may, however, be
       admissible for other purposes, such as proof of motive, opportunity, intent,
       preparation, plan, knowledge, identity, or absence of mistake or accident . . . .

Fed. R. Evid. 404(b). Before allowing a jury to consider evidence under 404(b), this Court must:

       (1) make a preliminary finding as to whether sufficient evidence exists that the prior
       act occurred; (2) determine whether the other act is admissible for one of the proper
       purposes outlined in Rule 404(b); and (3) apply Rule 403 balancing to determine
       whether the evidence's probative value is substantially outweighed by the danger of
       unfair prejudice or the other concerns embodied in Rule 403.

United States v. Allen, 619 F.3d 518, 523 (6th Cir. 2010) (citing United States v. Mack, 258 F.3d
548, 553 (6th Cir. 2001)).

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404(b) to show defendant’s knowledge and involvement in the drug conspiracy). Furthermore,

while this evidence is prejudicial to the defendant, its probative value is not substantially

outweighed by the danger of unfair prejudice. By contesting the existence of the conspiracy,

Government has the burden to show Dunbar acted with specific intent and may therefore rely

upon evidence falling under Rule 404(b). See Johnson, 27 F.3d at 1192-93. These transactions

are probative of this necessary “intent” element.

       Moreover, the transactions of September 2008 may be introduced as direct evidence of

Dunbar’s participation in the conspiracy. Past precedent is unambiguous that evidence of

specific drug transactions that occurred during the conspiratorial period is admissible to prove

the existence of the actual conspiracy. See e.g., United States v. Caver, 470 F.3d 220, 235 (6th

Cir. 2006); United States v. Washington, 166 F. App’x. 823, 829-30 (6th Cir. 2006); United

States v. Martinez, 430 F.3d 317, 334 (6th Cir. 2005); United States v. Price, 258 F.3d 539, 544-

45 (6th Cir. 2001). For these reasons, officers may testify as to Dunbar’s involvement with the

alleged sales of crack cocaine on September 11, 2008, and September 12, 2008.

               b. Dunbar’s past convictions for Trafficking Crack Cocaine

       Dunbar contends that his past convictions for Trafficking Crack Cocaine are inadmissible

under Rule 404(b). Government has not issued a notice of intent to use his past convictions

under Rule 404(b). DN 405. Nor did Government address this objection in its response to this

motion. DN 579. The Court’s scheduling order also stated that all evidence to be offered under

Rule 404(b) be noticed to Dunbar three weeks prior to trial. DN 537.

       Under Rule 404(b), the government must provide “reasonable notice in advance of trial.”

Fed. R. Evid. 404(b). A district court “has the discretion to determine reasonableness under the



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circumstances.” United States v. Barnes, 49 F.3d 1144, 1147 (6th Cir. 1995). The Advisory

Committee notes to Rule 404(b) explain that it “‘is intended to reduce surprise and promote early

resolution on the issue of admissibility.’” Id. (quoting Fed. R. Evid. 404(b) advisory

committee’s note (1991 amendment)).

        Considering that the date for the timely disclosure of Rule 404(b) evidence has passed

and that the trial is scheduled to commence on December 13, 2010, Dunbar’s motion is

appropriate. Dunbar would have an insufficient amount of time to challenge such evidence

before the start of trial. Accordingly, the Court grants Defendant’s motion and precludes

Government from admitting his past convictions for Trafficking Crack Cocaine as Rule 404(b)

evidence at trial.

                                         CONCLUSION

        For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s motion (DN

579) is GRANTED IN PART AND DENIED IN PART.

        IT IS FURTHER ORDERED that Government submit to the Court for its review the

taped recordings, the transcripts of the recordings, the interpretations of the recordings, and any

video and photographic evidence that are implicated by this motion and which the Government

intends to use at trial against Dunbar or any other Defendant proceeding to trial by NO LATER

THAN 12:00 P.M. ON DECEMBER 9, 2010.




                                                                                      December 7, 2010




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